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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,                                           No. 1:14-CR-00093

vs.                                                          Hon. Robert Holmes Bell
                                                             United States District Judge
CREIGHTON LONEL GOINS,

        Defendant.
                                        /

                     GOVERNMENT’S SENTENCING MEMORANDUM

        Defendant will be sentenced on October 16, 2014, having pled guilty to one count of wire

fraud in violation of 18 U.S.C. § 1343. Defendant admitted to knowingly devising and executing

a scheme to defraud Trinity Health between April 2006 and November 2010 while working as a

computer technology manager.        Furthermore, Defendant has stipulated and agreed that he

diverted more than $900,000 in technology assets over five years and converted those assets into

cash for his own personal use. (ECF #2, Plea Agreement ¶6.)

        Initially, the parties had no objections to the first draft of the presentence investigation

report (“PSR”). Shortly before the final PSR was issued, however, the probation officer learned

that Defendant was not truthful during his presentence interview by failing to disclose that he

was maintaining cash deposits in a “Rushcard” account. Rushcards are prepaid VISA cards that

can be used as a debit card once money is deposited in the card account (e.g., a direct deposit of

paychecks or depositing cash into the account). Once the money has been “loaded” on to the

card, it can be used online or in stores that accept VISA cards.

        Earlier this month, Defendant’s wife reported to the probation officer that Defendant

began using a Rushcard when they filed for bankruptcy in 2011. Upon learning of the Rushcard
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account, the probation officer requested copies of the monthly account statements. The records

produced by Defendant indicate that he was using the Rushcard account as a bank account: his

payroll checks were deposited directly into the Rushcard account; he made several large cash

deposits into the account; and he was using the account to pay for living expenses as well as

travel and entertainment. The following chart summarizes the flow of money into and out of

Defendant’s undisclosed Rushcard account during the relevant periods:


                      June 2014            July 2014           August 2014       September 2014


     Deposits         $4,948.51            $3,507.75             $914.50            $1,694.33


    Withdrawals       $4,887.05            $3,282.79            $1,004.87           $1,695.37


(Exhibit 1: Rushcard Monthly Statements.) 1         By comparison, in July, Defendant provided

materially false and misleading information to the probation officer by claiming he had only $21

in his credit union account, and that his monthly income was $2,080 and monthly expenses were

$2,800. (PSR ¶104.)

         Separately, the FBI learned in September that Defendant liquidated nearly $46,000 in

retirement assets from his former employer’s retirement plan on June 15, 2014, and transferred

all but $3,000 of that cash into a new account that was opened on June 7 in his wife’s name.

(Exhibit 2: Copy of Check; Exhibit 3: Credit Union Account Statements.) Defendant failed to

disclose to the probation officer that he liquidated his largest asset after he was charged in this

case and had agreed to plead guilty to wire fraud and pay restitution in the amount of $921,158.

To date, Defendant has failed to provide receipts to the probation officer demonstrating where

1
 The government is filing all exhibits to this memorandum under restricted access to protect the
account information from disclosure while providing the Court the opportunity to review the
pertinent financial records.
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the nearly $46,000 in cash was spent in less than one month. Defendant claims that the money

was spent on furniture, paying bills, paying debts, travel, groceries, and clothing purchases and

provided a list of estimated expenditures using that cash. Absent reliable evidence of what

happened to that money, it remains possible that Defendant liquidated the account to hide the

cash from the Court. The final PSR assumes that Defendant spent all of the money.

       Moreover, the Defendant’s failure to disclose the Rushcard account and the liquidation of

nearly $46,000 in retirement assets are interrelated. Had Defendant disclosed the Rushcard

account and monthly statements to the probation officer, the officer would have observed that

Defendant made $1,700 in cash deposits into the account in June. Undoubtedly, the probation

officer would have inquired about the source of those funds. If Defendant had been truthful

about his financial affairs, the probation officer would have discovered that Defendant had

liquidated $45,863.98 in pension assets on June 18 and immediately transferred $1,000 of that

cash into his Rushcard account and the balance to the new account on the same day.

       In summary, the chronology of the pertinent events relating to the undisclosed assets are

as follows:


     Date                                            Event


  5/23/2014     Defendant signs a written Plea Agreement to plead guilty to wire fraud


   6/2/2014     Defendant is charged with wire fraud by Felony Information


   6/3/2014     Defendant’s signed Plea Agreement is filed with the Court


   6/7/2014     A new credit union account is opened in Defendant’s wife’s name




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     Date                                           Event


  6/18/2014     1. Defendant deposits the $45,863.98 pension check into his credit union
                account (prior balance of $13.84); immediately withdraws $3,000 from his
                credit union account; and deposits $1,000 on his Rushcard account; and

                2. Defendant transfers $42,863.98 to the new credit union account (prior
                balance of $5.00)


  6/19/2014     $9,000 cash withdrawals in two transactions ($1,000 and $8,000) from the new
                account


  6/20/2014     $3,000 cash withdrawal from the new account


  6/21/2014     $8,000 cash withdrawal and an additional $200 cash withdrawal at an ATM
                from the new account


  6/24/2014     $8,000 cash withdrawal and an additional $100 cash withdrawal at an ATM
                from the new account


  6/25/2014     Defendant deposits $300 on his Rushcard account


  6/26/2014     $8,000 cash withdrawal and an additional $100 cash withdrawal at an ATM
                from the new account


   7/3/2014     $1,000 cash withdrawal from the new account


  7/10/2014     $3,817 cash withdrawal from the new account, which has a remaining balance
                of $132.40


  7/28/2014     Defendant submits a financial statement to the probation officer that failed to
                disclose all asset accounts, balances, and monthly income/expenses.


(Exhibit 3: Monthly Credit Union Account Statements.)




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       Thus, the records obtained to date reflect that Defendant either spent nearly $46,000 in

less than one month or Defendant is attempting to hide the money from the Court. Additionally,

several of the withdrawal transactions are indicative of “structuring” to avoid Currency

Transaction Reports, which the credit union is required to file when a customer withdraws more

than $10,000 in currency. A CTR would have alerted the government to the movement of the

Defendant’s cash.

        In light of this newly discovered information, the probation officer concluded that

Defendant attempted to obstruct or impede justice and has not clearly demonstrated acceptance

of responsibility because he failed to disclose his true financial condition and depleted a

substantial amount of his assets immediately after he was charged in this case — monies he

could have used to pay restitution to the victim or a fine. In light of these facts, and for the

following reasons, the government concurs with the probation officer’s calculation of the

advisory guideline range:

                    I. Obstruction or Impeding the Administration of Justice

       The Application Notes to USSG § 3C1.1 provide that the two-level enhancement is

properly applied when a defendant provides materially false information to a probation officer in

connection with the presentence investigation. See USSG § 3C1.1, Application Note 4(H).

Providing incomplete or misleading information in connection with a presentence investigation

that does not amount to a material falsehood is not obstruction. See USSG § 3C1.1, Application

Note 5(C). “Material” evidence is defined as evidence, fact, statement, or information that, if

believed, would tend to influence or affect the issue under determination. See USSG § 3C1.1,

Application Note 6.




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       The misleading information provided to the probation officer need not be a “‘significant

impediment’ to the investigation” for it to be material. United States v. Aideyan, 11 F.3d 74, 76

(6th Cir. 1993).     The enhancement applies even if the probation officer discovers the

misrepresentation before sentencing. See United States v. Bruce, 396 F.3d 697, 712-13 (6th Cir.

2005) (rejecting defendant’s “no harm no foul” view of materiality under USSG § 3C1.1),

vacated in part on other grounds on rehearing, United States v. Bruce, 405 F.3d 1034 (6th Cir.

2005). Withholding information from the probation officer is material “if it could tend to affect

the sentencing judge’s determination of the appropriate sentence within the guideline range.”

See United States v. Miller, No. 98-6559, 2000 WL 263280 *4 (6th Cir. Mar. 3, 2000) (citing

United States v. Wilson, 197 F.3d 782, 785 (6th Cir. 1999)).

       In this case, Defendant attempted to obstruct or impede the administration of justice at

sentencing by failing to disclose all of his assets, attempting to mislead the probation officer

concerning his true financial condition, and by disposing of and/or hiding his liquidated pension

assets after he was charged in this case to avoid potentially subjecting those assets to restitution

or a fine. The false statements and omissions to the probation officer were material to the

preparation of the PSR and this Court’s determination of the appropriate sentence.              The

probation officer and this Court rely on the Defendant’s representations concerning his assets,

liabilities, and monthly cash flow in preparing and evaluating the PSR. This Court specifically

relies on the Defendant’s financial condition to determine the availability of assets to pay

restitution and a fine; whether a fine should be assessed and, if so, at what amount within the

advisory guideline range of $10,000 to $1,842,316 that is applicable in this case; determining a

monthly installment plan for payment of restitution and any fine; and determining whether

interest should be waived on the amounts due. By misleading the probation officer concerning



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his true financial condition, Defendant attempted to impede this Court’s ability to determine the

appropriate sentence in this case.

                                     II. Acceptance of Responsibility

       A defendant who merely pleads guilty is not entitled to a reduction for acceptance of

responsibility as a matter of right. USSG § 3E1.1, Application Note 3; United States v. Saenz,

915 F.2d 1046, 1047 (6th Cir. 1990). A defendant must “clearly demonstrate[]” acceptance of

responsibility for his offense to obtain the benefit of a two-level decrease in the offense level.

The Sentencing Guidelines further provide that:

               Conduct resulting in an enhancement under § 3C1.1 (Obstructing or
               Impeding the Administration of Justice) ordinarily indicates that the
               defendant has not accepted responsibility for his criminal conduct. There
               may, however, be extraordinary cases in which adjustments under both §§
               3C1.1 and 3E1.1 may apply.

USSG § 3E1.1, Application Note 4. Defendant bears the burden of proving that his case is

“extraordinary.” See United States v. Angel, 355 F.3d 462, 477 (6th Cir. 2004).

       If this Court finds that Defendant attempted to obstruct or impede the administration of

justice by providing materially false or misleading information to the probation officer in

connection with the preparation of the presentence investigation report, Defendant has not

clearly demonstrated that he has accepted responsibility for the offense and this case does not

present an extraordinary situation where Defendant should obtain the benefit of USSG § 3E1.1.

Misleading the probation officer and failing to provide material financial information to allow

the Court to properly determine the sentence in a wire fraud case is directly related to the

whether he has accepted responsibility for his fraudulent conduct and the financial harm he has

inflicted on the victim.




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       For the foregoing reasons, the government has no objections to the final presentence

investigation report. (ECF #14.)

                                                 Respectfully submitted,

                                                 PATRICK A. MILES, JR.
                                                 United States Attorney

Dated: October 16, 2014                           /s/ Christopher M. O’Connor
                                                 CHRISTOPHER M. O’CONNOR
                                                 Assistant United States Attorney
                                                 United States Attorney’s Office
                                                 P.O. Box 208
                                                 Grand Rapids, Michigan 49501-0208
                                                 (616) 456-2404




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